          Case 2:23-cv-09454-JMA-AYS Document 4-1 Filed 12/28/23 Page 1 of 1 PageID #: 22

  AO 440 (Rev. 06/12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                             for the

                                        EASTERN DISTRICT OF NEW YORK

Liliana Carolina Yanes, individually and on behalf of all              )
others similarly situated,                                             )
                                                                       )
                                                                       )
                                 Plaintiff(s)                          )
                                                                       )   Civil Action No. 23-9454 -0$ $<6
                           v.                                          )
Nilkhant 2 Car Wash, LLC d/b/a Bethpage Car Wash,                      )
Rakeshbhai Patel, Darpan Patel and Ronak Patel,                        )
                                                                       )
                                                                       )
                                Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

  To:              Nilkhant 2 Car Wash, LLC d/b/a Bethpage Car Wash & Detail Center
                   4110 Hempstead Turnpike
                   Bethpage, NY 11714

            A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
  whose name and address are:

                             Steven John Moser
                             Moser Law Firm, PC
                             133 C New York Avenue
                             Huntington, NY 11743
                             steven.moser@moserlawfirm.com


         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.
                                                                   %5(11$%0$+21(<
                                                                   CLERK OF COURT

  Date:        
                                                                                Signature of Clerk or Deputy Clerk
